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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT, LLC
 and ELLIOT BROIDY,

                        Plaintiffs,
                v.                                   Civil Action No. 1:19-cv-00150-DLF
 NICOLAS D. MUZIN, JOSEPH ALLAHAM,
 GREGORY HOWARD, and STONINGTON
 STRATEGIES LLC,

                        Defendants.

                        DEFENDANTS’ JOINT NOTICE OF APPEAL

       Defendants Nicolas D. Muzin, Joseph Allaham, Gregory Howard, and Stonington

Strategies LLC (together, “Defendants”) hereby jointly appeal to the United States Court of

Appeals for the District of Columbia Circuit, pursuant to Federal Rule of Appellate Procedure 3

and the collateral order doctrine, see, e.g., Kilburn v. Socialist People’s Libyan Arab Jamahiriya,

376 F.3d 1123, 1126 (D.C. Cir. 2004), that part of this Court’s March 31, 2020 Order, Dkt. No. 50,

denying Defendants’ motions to dismiss the First Amended Complaint, see Dkt. Nos. 40, 41, 42.


Dated: April 27, 2020                                Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2020, a true and correct copy of Defendants’ Joint Notice

of Appeal was served electronically on all registered counsel of record via ECF and is available

for viewing and downloading from the ECF system.


                                                     /s/ Stephen J. Obermeier
                                                     Stephen J. Obermeier




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